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February 22, 2019

BY ECE and Federal Express

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S. Courthouse

500 Pearl Street

New York, New York 10007

Re:  Inre: Customs and Tax Administration ofthe Kingdom of Denmark
(SKAT) Tax Refund Litigation, 18-md-2685 (LAK)

Dear Judge Kaplan:

The purpose of this letter is to inform you that Defendants in the consolidated cases, as
set forth below, filed Answers today with the Court in the dockets for their respective actions.
We attempted in good faith to comply with Paragraph 1 of the Court's Pretrial Order No.4, dated
October 10, 2018 (ECF Dkt. 2), which requires each filing to be made in the master docket and
"spread" to each additional action to which such filing applies. However, as previously noted by
other counsel, it is not possible to "spread" the Answer on ECF. Accordingly, to comply with
the Court's Pretrial Order No. 4, we are attaching the following Answers filed today, as exhibits
to this letter:

1. Answer to the Complaint by Sterling Alpha LLC Profit Sharing Plan and John Doscas,
SKAT v. Sterling Alpha LLC Profit Sharing Plan and John Doscas, Docket Number
1:18-cv-04894-LAK;

2. Answer to the Complaint by John Doscas, SKAT v. Sander Gerber Pension Plan and
John Doscas, Docket Number 1:18-cv-04899-LAK;

3. Answer to the Complaint by Del Mar Asset Management Saving & Retirement Plan and
David Freelove, SKAT v. Del Mar Asset Management Saving & Retirement Plan and
David Freelove, Docket Number 1:18-cv-05374-LAK; and

4. Answer to the Complaint by Federated Logistics LLC 401K Plan and David Freelove,
SKAT v. Federated Logistics LLC 401K Plan and David Freelove, Docket Number 1:18-
cv-08655-LAK.

opfully’yours,

ce: Counsel of Record (via ECF)
